 Case
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            IN THE UNITED STATES DISTRICT COURT FOR       FILEDoUST
                                                   U.S. DISTRICT
               THE SOUTHERN DISTRICT OF GEORGIA
                       WAYCROSS DIVISION
                                                                 AUG 19 1115
CHRISTOPHER GREEN,

     Petitioner,                                         CLERK
V.                                          CASE NO. CV512-124

UNITED STATES OF AMERICA,

     Respondent.


                             ORDER

     Before the Court is the Magistrate Judges Report and

Recommendation (Doc. 25), to which objections have been

filed (Doc.   26) . After careful consideration, however, the

Court finds Petitioner's objections to be without merit. In

his objections, Petitioner offers no justifiable excuse for

previously failing to mention his 1999 state petition to

vacate.' The remainder of the arguments contained within

Petitioner's objections have already been reviewed and

found unavailing by this Court and by the Eleventh Circuit

Court of Appeals. (Doc. 8; Doc. 16.) Accordingly, the

report and recommendation is ADOPTED as the Court's opinion

in this case. Petitioner's Motion for Relief (Doc. 18) is

' The Court agrees with both the        Government and the
Magistrate Judge that the emergence of this letter and its
surrounding circumstances are highly questionable. However,
the Court need not address the letter's veracity as it does
not provide Petitioner an avenue for relief even if it is
authentic.
 Case
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DENIED.   Petitioner's Motion for Relief due to Government's

Untimely Response (Doc. 23) is               DISMISSED AS MOOT.

Furthermore, because there are no non-frivolous issues to

raise on appeal such that an appeal would not be taken in

good faith, Petitioner is also         DENIED   the i6suance of a

Certificate of Appealability and permission to proceed in

forma pauperis on appeal. This case remains cloed.

     SO ORDERED this            day of August 2015.




                                   WILLIAM T. MOORE, JR. L
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT: OF GEORGIA




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